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                                       No. 21-2325

                                  IN THE
                      UNITED STATES COURT OF APPEALS
                         FOR THE SEVENTH CIRCUIT

ST. ANTHONY HOSPITAL,                      )         Appeal from the United States
                                           )         District Court for the Northern
       Plaintiff-Appellant,                )         District of Illinois, Eastern Division
                                           )
       v.                                  )
                                           )
THERESA EAGLESON, in her                   )         No. 20-cv-02561
official capacity as Director of the       )
Illinois Department of Healthcare          )
and Family Services,                       )         The Honorable
                                           )         Steven C. Seeger,
       Defendant-Appellee.                 )         Judge Presiding.


            SUPPLEMENTAL BRIEF OF DEFENDANT-APPELLEE

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                                  INTRODUCTION

      Defendant Theresa Eagleson, Director of the Illinois Department of

Healthcare and Family Services (“HFS”), respectfully submits this supplemental

brief pursuant to the court’s October 16, 2023 order on remand from the Supreme

Court’s June 20, 2023 order in this case. This brief addresses only plaintiff St.

Anthony Hospital’s section 1983 claim under section 1396u-2(f) of the Medicaid Act,

42 U.S.C. § 1396u-2(f), which the district court dismissed. As described below, the

court should affirm that judgment because section 1396u-2(f) manifests Congress’s

intent to rely on a system of contractual rights, not statutory rights, to govern

managed care organization (“MCO”) payments to providers.

      The central question in this case is who controls enforcement of the contract

provision — the “Timely Payment Clause” — that section 1396u-2(f) requires States

to include in their contracts with MCOs in managed care programs authorized by

section 1396u-2 of the Medicaid Act. That question asks whether section 1396u-2(f)

gives control over enforcement of the Timely Payment Clause to States, or instead to

federal courts at the demand of health care providers. The panel majority’s vacated

opinion held that this control belongs to federal courts and providers, and that

section 1396u-2(f) gives St. Anthony the right to seek “a court order to require

Illinois to enforce the MCOs’ contractual obligations” under the Timely Payment

Clause. 40 F.4th at 501. With the benefit of the Supreme Court’s subsequent

decision in Health & Hospital Corp. of Marion County v. Talevski, 599 U.S. 166

(2023), this court should now reach the opposite conclusion.



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      Congress often implements federal policy by mandating certain terms in

specific types of contracts, as opposed to creating statutory duties. See Jackson

Transit Auth. v. Loc. Div. 1285, Amalgamated Transit Union, AFL-CIO-CLC, 457

U.S. 15, 20-23, 29 & nn.12, 13 (1982); Empire Healthchoice Assur., Inc. v. McVeigh,

547 U.S. 677, 690, 693-99 (2006); Astra USA, Inc. v. Santa Clara Cnty., Cal., 563 U.S.

110, 114-15, 118-19 & n.4 (2011). When it does so, the rights created by those

contracts are just that — rights, not duties. See United States v. Blankenship, 382

F.3d 1110, 1134 (11th Cir. 2004); see also Shutte v. Thompson, 82 U.S. 151, 159

(1872) (“A party may waive any provision, either of a contract or of a statute,

intended for his benefit.”); IKB Int’l, S.A. v. Wells Fargo Bank, N.A., 220 N.E.3d 646,

653 (N.Y. 2023) (“a right is not a duty”). That is the approach Congress followed

under section 1396u-2(f), giving States a contractual right, not a statutory duty, to

enforce the Timely Payment Clause in their contracts with MCOs. Consistent with

that approach, section 1396u-2(f) does not confer on individual Medicaid providers a

section 1983-enforceable private right to require States to enforce the Timely

Payment Clause against an MCO that breaches it.




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                           SUMMARY OF ARGUMENT

      The district court correctly dismissed St. Anthony’s section 1983 claim under

section 1396u-2(f) because section 1396u-2(f) does not give individual providers a

private right to have States enforce the Timely Payment Clause against an MCO that

breaches it by not paying providers on a timely basis. Whether section 1396u-2(f)

creates such individual private rights is governed by the two-step test announced in

Talevski. Section 1396u-2(f) satisfies neither step.

      First, section 1396u-2(f) does not presumptively create a private right for

individual Medicaid providers to require a State enforce the Timely Payment Clause

against an MCO. It does not contain “clear ‘rights-creating language’” that

“unambiguously confer[s] individual federal rights” on individual providers to

require States to enforce the Timely Payment Clause against an MCO that breaches

it. Talevski, 599 U.S. at 180, 186 (cleaned up; emphasis in original).

      Second, even if section 1396u-2(f) satisfied the first step of the Talevski

analysis, Congress evidenced an intention to exclude section 1983 enforcement by

establishing a comprehensive enforcement scheme, based on private contract rights,

to enforce MCOs’ obligation to pay providers on a timely basis. The statutory right

that St. Anthony claims is incompatible with that contract-based scheme. Among

other things, it would interfere with that scheme by negating the contractual

discretion that section 1396u-2(f) gives States to enforce the Timely Payment Clause

in their contracts with MCOs depending on the specific circumstances surrounding

an MCO’s breach of that Clause.



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                                     ARGUMENT

      In light of the Supreme Court’s decision in Talevski, the district court’s

judgment dismissing St. Anthony’s section 1983 claim under section 1396u-2(f)

should be affirmed.

I.    Talevski defined the standards for establishing statutory duties
      and private rights in federal Spending Clause legislation.

      Statutes passed under Congress’s Spending Clause authority generally do not

create rights enforceable by private parties under section 1983. Talevski, 599 U.S. at

180, 183; Gonzaga, 536 U.S. at 280. If such a statute does include a condition

imposing a specific duty on a State, which it must do “unambiguously,” Gonzaga, 536

U.S. at 280 (quoting Pennhurst State School & Hosp. v. Halderman, 451 U.S. 1, 17

(1981)), “‘“the typical remedy for state noncompliance . . . is not a private cause of

action for noncompliance but rather action by the Federal Government to terminate

funds to the State.”’” Talevski, 599 U.S. at 183 (quoting Gonzaga, 536 U.S. at 280, in

turn quoting Pennhurst, 451 U.S. at 28); see also id. at 177-78 (citing Cummings v.

Premier Rehab Keller, 596 U.S. 212, 219 (2022), and Pennhurst, 451 U.S. at 17). 1




1
  Absent a condition in the statute unambiguously imposing the alleged duty, even the
federal government cannot exercise that power. Pennhurst, 451 U.S. at 17; see also
Gonzaga, 536 U.S. at 280. Thus, as the Supreme Court reasoned in Cummings:
      Recipients cannot “knowingly accept” the deal with the Federal Govern-
      ment unless they “would clearly understand . . . the obligations” that
      would come along with doing so. . . . “Accordingly, if Congress intends
      to impose a condition on the grant of federal moneys, it must do so
      unambiguously.” Pennhurst, 451 U.S. at 17.
596 U.S. at 219 (citations omitted; emphasis added).

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       In Talevski, the Supreme Court announced a two-step test to determine if a

Spending Clause statute creates private rights that are enforceable under section

1983. 599 U.S. at 180, 183-84, 186-88. The standard for the first step, the Court

explained, is “set[] forth” in Gonzaga and “sets a demanding bar: Statutory

provisions must unambiguously confer individual federal rights.” 599 U.S. at 180

(citing Gonzaga, 536 U.S. at 280; emphasis in original). “Courts must employ

traditional tools of statutory construction to assess whether Congress has

unambiguously conferred individual rights upon a class of beneficiaries to which the

plaintiff belongs.” Id. at 183 (cleaned up). As Gonzaga explained, “rights-creating

language [is] critical to showing the requisite congressional intent to create new

rights.” 536 U.S. at 287 (cleaned up); see also Talevski, 599 U.S. at 183 (statutory

provisions at issue created section 1983-enforceable rights because they “use clear

‘rights-creating language’”) (cleaned up); id. at 186 (Barrett, J. concurring);

Gonzaga, 536 at 284 (statute must contain “explicit rights-creating terms”). If that

strict standard is satisfied, a presumption arises that the statute creates private

rights enforceable under section 1983. Talevski, 599 U.S. at 186.

       Critically, Gonzaga made clear that passing the three-factor test described in

Blessing v. Freestone, 520 U.S. 329 (1997), is not sufficient to satisfy this first-step

test, and “if Congress wishes to create new rights enforceable under § 1983, it must

do so in clear and unambiguous terms.” 536 U.S. at 290. Reinforcing the point,

Gonzaga held that “unless Congress ‘speaks with a clear voice,’ and manifests an

‘unambiguous’ intent to create individually enforceable rights, federal funding



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provisions provide no basis for private enforcement by § 1983.” 536 U.S. at 280

(quoting Pennhurst, 451 U.S. at 17) (cleaned up). The language necessary to meet

this “stringent standard” is illustrated by the few post-Pennhurst Supreme Court

decisions, including Talevski, that found a congressional intent to confer individual

private rights. Talevski, 599 U.S. at 184-85. In each of these cases (discussed below),

the statute either expressly stated that a defined class of persons had individual

“rights,” or unambiguously stated that the State owed a specific duty directly to each

individual in the class. See infra at 13-14.

      At the second step of the Talevski analysis, the presumption that a Spending

Clause statute confers individual rights on private parties is overcome if the statute

establishes an alternative remedial scheme that “Congress intended . . . to be the

exclusive avenue through which a plaintiff may assert his claims.” Id. at 187

(cleaned up). The controlling question, also answered using “ordinary interpretive

tools,” “is whether the design of the enforcement scheme in the rights-conferring

statute is inconsistent with enforcement under § 1983, such that a court must infer

that Congress did not intend to make available the § 1983 remedy for these newly

created rights.” Id. at 187 (cleaned up).

II.   Section 1396u-2(f) does not unambiguously confer on individual
      Medicaid providers a private right to require States to enforce the
      Timely Payment Clause in their contracts with MCOs.

      St. Anthony’s section 1983 claim under section 1396u-2(f) fails both steps of

the Talevski analysis. At the outset, it is important to clarify that the “right” in

dispute here is not a provider’s right to timely payment by an MCO, which a provider



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can enforce directly against an MCO under their contract. It is a provider’s claimed

statutory right against a State to seek a court order requiring the State to enforce the

Timely Payment Clause in its contract with an MCO. Section 1396u-2(f) does not

presumptively give providers that right, using “clear rights-creating language” that

“unambiguously” confers on individual providers a right to enforce it. Talevski, 599

U.S. at 186 (cleaned up); see Gonzaga, 536 U.S. at 280, 282, 283. It does not even

satisfy the threshold condition of unambiguously imposing on States a duty to

individual providers to enforce the Timely Payment Clause against an MCO that fails

to pay providers on a timely basis. See supra at 4, n.1. In any event, Congress ruled

out such individual private rights enforceable under section 1983 by establishing a

comprehensive enforcement scheme, based on contract rights and duties, that is

inconsistent with the individual statutory right that St. Anthony claims.

       A.   Section 1396u-2(f) does not presumptively give Medicaid
            providers an individual right, with unambiguous rights-
            creating language, to require States to enforce the Timely
            Payment Clause in their contracts with MCOs.

       Section 1396u-2(f) does not satisfy Talevski’s first step, and thus does not

presumptively create a private right enforceable under section 1983. At Talevski’s

first step, a court must apply the test established in Gonzaga, not Blessing’s three-

factor standard. Talevski, 599 U.S. at 183; see also Gonzaga, 536 U.S. at 282-84, 287.

Section 1396u-2(f) does not satisfy that test, and St. Anthony’s attempt to establish a

private right thus fails.

            1.   Talevski’s first step is governed by Gonzaga, not Blessing.

       This court’s vacated opinion repeatedly stated that section 1396u-2(f) created a


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presumptive right to enforcement under section 1983 because it satisfied Blessing’s

three-factor standard. 40 F.4th at 503, 504, 514. 2 A fresh first-step analysis is

therefore required because Talevski expressly held that “Gonzaga sets forth” the test

to determine whether a statute presumptively confers private rights enforceable

under section 1983, 599 U.S. at 183, and Gonzaga makes clear that Blessing’s three-

factor standard is not sufficient to confer such rights, 536 U.S. at 282-86, 290.

      St. Anthony argues that Blessing’s three-factor analysis still controls because

Talevski did not “overrule” Blessing, and that the court should reaffirm its vacated

decision on this issue because it correctly applied the Blessing analysis. Doc. 92 at 4-

6. This argument misreads Talevski and presents a false choice between formally

“overruling” Blessing and reaffirming its three-factor analysis without qualification.

      Talevski made clear that “Gonzaga sets forth” the standard “for ascertaining

unambiguous conferral” of a private right, and it did not mention Blessing when

describing and applying that first step. 599 U.S. at 183. Justice Barrett, joined by

the Chief Justice, confirmed that “Gonzaga establishes the standard for analyzing

whether Spending Clause statutes give rise to individual rights.” Id. at 193. Thus,

Talevski eliminated any arguable doubt about whether Gonzaga, not Blessing,

controls.



2
  The majority opinion stated that “[i]f these three [Blessing] factors are satisfied, the
right is presumptively enforceable under section 1983,” 40 F.4th at 503 (cleaned up);
“[w]e agree with Saint Anthony that section 1396u‐2(f) grants providers a right to timely
payment from the MCOs that the State must safeguard because the right satisfies all
three Blessing factors,” id. at 504; and “[s]ince section 1396u-2(f) satisfies the three
Blessing factors, the right to prompt payment is presumptively enforceable under section
1983,” id. at 514.

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      For its part, Gonzaga plainly departed from the first-step standard set forth in

Blessing. Gonzaga did not declare all of Blessing’s analysis irrelevant, but it revised

the three-factor test set forth in Blessing for determining when a Spending Clause

statute confers private rights. 536 U.S. at 282-86. It pointed out that Blessing’s

three-factor description of the test for finding a private right inaccurately

“suggest[ed] that something less than an unambiguously conferred right is

enforceable by § 1983,” and contributed to “confusion” on the issue. 536 U.S. at 282-

83. Gonzaga then explicitly, and repeatedly, held that the applicable test is not

satisfied simply by meeting the Blessing factors. Id. at 283-87, 290.

      The key difference between Gonzaga and Blessing — which St. Anthony

attempts to obscure but is critical here — is that Gonzaga held that Spending Clause

legislation creates privately enforceable rights under section 1983 only if it

“manifests an unambiguous intent to create individually enforceable rights,” using

“explicit rights-creating terms.” 536 U.S. at 273-74, 284 (cleaned up); see also

Talevski, 599 U.S at 172, 180, 183-86. As described below, section 1396u-2(f) does

not satisfy that test. See infra at 14-36.

      In an alternative attempt to avoid the clear import of Talevski and Gonzaga,

St. Anthony argues that Gonzaga combined Blessing’s first two factors without

adding anything substantive to them. Doc. 92 at 8. According to St. Anthony,

Blessing’s second factor already required a “clear right,” which is no different from

what Gonzaga demands. Id. at 6, 8. This characterization of Blessing and Gonzaga

is equally mistaken. Blessing never referred to a “clear right.” As Gonzaga



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explained, Blessing’s first factor focused on whether Congress “intended that the

provision in question benefit the plaintiff,” but “§ 1983 provides a remedy only for the

deprivation of ‘rights’ . . . secured by the Federal Constitution and laws,’” so “it is

rights, not the broader or vaguer ‘benefits’ or ‘interests,’ that may be enforced

thereunder.” 536 U.S. at 283 (emphasis added).

       Blessing’s second factor also does not embrace a “clear right” requirement.

It simply required that “the right assertedly protected by the statute is not so

‘vague and amorphous’ that its enforcement would strain judicial competence.”

520 U.S. at 340-41 (emphasis added). That is not the same as requiring, as Gonzaga

held, that the statute contain “explicit rights-creating terms” and “manifest[] an

‘unambiguous’ intent to create individually enforceable rights.” 536 U.S. at 273-74,

284 (quoting Pennhurst, 451 U.S. at 17.); see also Talevski, 599 U.S. at 183 (question

is “whether Congress has ‘unambiguously conferred’ ‘individual rights upon a class

of beneficiaries’ to which the plaintiff belongs,” using “‘rights-creating,’ individual-

centric language”). 3

       Nor can this court conclude, as St. Anthony contends, Doc. 92 at 6-10, that the

panel majority’s application of the Blessing factors effectively satisfies Talevski’s first

step. On the first Blessing factor, the majority examined whether section 1396u-2(f)

was “intended . . . to benefit providers.” 40 F.4th at 505. As noted, however,




3
  Without citing Gonzaga, the majority on one occasion mentioned the need for “rights-
creating language,” but then immediately stated that the “Blessing factors” determine
whether a statute has such language. 40 F.4th at 504 (quoting Talevski v. Health &
Hosp. Corp. of Marion Cnty., 6 F.4th 713, 720 (7th Cir. 2021)).

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Gonzaga, which Talevski reaffirmed, held that “benefits” are not enough, and

Spending Clause statutes must instead explicitly confer individual “rights.” 536 U.S.

at 283.

      Addressing the second Blessing factor, the majority found that the claimed

right by providers to enforce States’ alleged duty to ensure timely MCO payments to

them was “not so vague and amorphous that its enforcement would strain judicial

competence.” 40 F.4th at 508 (cleaned up). Again, however, finding that a statute is

not “vague and amorphous” is not the same as finding that it “unambiguously”

manifests an intent to create individual private rights.

      Finally, on the third Blessing factor, the majority held that the “more

coherent” reading of section 1396u-2(f) is that it imposes a mandatory obligation on

States to enforce the Timely Payment Clause in the event of systemic failures by

MCOs to pay providers in accordance with the Clause. 40 F.4th at 510. This, again,

is a departure from Talevski. Talevski held that courts must apply traditional tools

of statutory construction — which require them to apply the plain meaning of

statutory language without adding terms Congress did not enact, and to find a

statute’s text to be unambiguous only if it has a single plausible meaning — to

determine whether a statute unambiguously gives individual providers a private

right to enforce that duty, not to choose a “more coherent reading.”

      Accordingly, the court must now examine whether section 1396u-2(f) meets

Talevski’s first-step test. That examination, applying traditional tools of statutory

construction, shows that section 1396u-2(f) is at least plausibly read to gives States a



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discretionary contractual right, not a statutory duty, to enforce the Timely Payment

Clause in their contracts with MCOs, and is likewise plausibly read not to give

individual providers a private right to require States to enforce the Timely Payment

Clause against an MCO that breaches it. Thus, section 1396u-2(f) does not create an

unambiguous individual right in Medicaid providers to seek a court order under

section 1983 requiring States to enforce the Timely Payment Clause against an MCO

that does not make timely payments to providers.

            2.   Supreme Court precedent shows what constitutes
                 clear rights-creating language.

       Talevski and Gonzaga do not just articulate the applicable first-step standard

in the abstract; they also give it concrete definition by explaining what specific

statutory language meets it. In Talevski, the Supreme Court explained that each

provision of the statute relied on by the plaintiffs in that case, the Federal Nursing

Home Reform Act (“FNHRA”), expressly referred to, and detailed, specific “rights” of

individual nursing home residents — to be free from unnecessary restraints, and to

be discharged or transferred only upon fulfillment of specified conditions — that

nursing homes had to observe. 599 U.S. at 184-86. The unnecessary-restraint

provision, the Court pointed out, “requires nursing homes to ‘protect and promote

. . . [t]he right to be free from . . . any physical or chemical restraints imposed for

purposes of discipline or convenience and not required to treat the resident’s medical

symptoms.’” 599 U.S. at 184 (quoting 42 U.S.C. § 1396r(c)(1)(A)(ii); emphasis in

original). And the provision’s exceptions, the Court noted, “further sustain the focus

on individual residents,” stating, for example, that “nursing homes may use


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restraints “to ensure the physical safety of the resident or other residents.’” Id. at 184

(quoting 42 U.S.C. § 1396r(c)(1)(A)(ii)(I)–(II); emphasis in original). Thus, each

FNRHA provision that the plaintiffs relied on expressly gave nursing home residents

specific rights based on explicit statutory duties that nursing homes owed to each

resident.

      Talevski added that the statutory language also left no doubt about who owed

residents the statutory duty that corresponded to these express rights. Id. at 185

(“these two provisions also establish who it is that must respect and honor these

statutory rights (namely, the Medicaid-participant nursing homes)”); cf. New York v.

United States, 505 U.S. 144, 172 (1992) (upholding exercise of Spending Clause

authority where “[t]he conditions imposed are unambiguous” and “the Act informs

the States exactly what they must do”) (citing Pennhurst, 451 U.S. at 17). The

statute therefore met the requirement that it contain “clear ‘rights-creating

language.’” Talevksi, 599 U.S. at 186.

      Justice Barrett’s concurring opinion in Talevski elaborated that the statutory

language necessary to satisfy Gonzaga’s first-step standard is also illustrated by the

Court’s only two other cases after Pennhurst — Wright v. Roanoke Redevelopment

and Housing Authority, 479 U.S. 418 (1987), and Wilder v. Virginia Hospital Ass’n,

496 U.S. 498 (1990) — where it found that standard satisfied. See Talevski, 599 U.S.

at 194 (Barrett, J., concurring). And Gonzaga itself explained the critical nature of

the statutory language in each case. See 536 U.S. at 280-81.




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       The statute at issue in Wright set a rent ceiling for low-income tenants in

public housing measured as a percentage of their income. Wright, 479 U.S. at 420.

Gonzaga emphasized that “the provision unambiguously conferred ‘a mandatory

benefit focusing on the individual family and its income,’” and it explained that

“[t]he key to our inquiry was that Congress spoke in terms that ‘could not be clearer’

. . . and conferred entitlements sufficiently specific and definite to qualify as

enforceable rights under Pennhurst.” 536 U.S. at 280 (quoting Wright, 479 U.S. at

430, 432; emphasis added). And in Wilder, Gonzaga explained, the Court found a

private right because the statute “required States to pay an ‘objective’ monetary

entitlement to individual health care providers.” Id. at 280 (quoting Wilder, 496

U.S. at 522-23; emphasis added).

       Thus, as Talevski and Gonzaga make clear, every post-Pennhurst Spending

Clause statute that the Supreme Court held presumptively created private rights

expressly said that the class of persons to which the plaintiffs belonged had specific

“rights” against the State or other government recipient of federal funds, explicitly

imposed on these recipients of federal funds a specific duty owed to individual

members of that class, or both. Section 1396u-2(f) does neither.

            3.   Section 1396u-2(f) does not unambiguously give Medicaid
                 providers an individual right to require States to enforce
                 the Timely Payment Clause in their contracts with MCOs.

       Under the foregoing principles, section 1396u-2(f) does not clear Talevski’s

“demanding bar” or meet Gonzaga’s “stringent standard” for finding that a

Spending Clause statute presumptively creates individual rights enforceable under



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section 1983. Talevski, 599 U.S. at 180, 186. As noted, Talevski directs courts to

apply “traditional tools of statutory construction” to determine whether a particular

Spending Clause statute “unambiguously confer[s] individual federal rights,” using

“rights-creating, individual-centric language with an unmistakable focus on the

benefited class.” 599 U.S. at 180, 183 (citing Gonzaga, 536 U.S. at 280; cleaned up;

emphasis in original).

      Those tools are well established. Courts must “begin with the text” of the

statutory provision at issue. Arlington Cent. Sch. Dist. Bd. of Educ. v. Murphy, 548

U.S. 291, 296 (2006); see Murphy v. Smith, 583 U.S. 220, 223 (2018) (“As always, we

start with the specific statutory language in dispute.”). They must also “presume

that Congress says in a statute what it means and means in a statute what it says

there.” Rotkiske v. Klemm, 140 S. Ct. 355, 360 (2019) (cleaned up); Patriotic

Veterans, Inc. v. Indiana, 736 F.3d 1041, 1047 (7th Cir. 2013). Conversely, a court

“may not replace the actual text with speculation as to Congress’ intent,” Oklahoma

v. Castro-Huerta, 142 S. Ct. 2486, 2496 (2022) (cleaned up); “engraft on a statute

additions which [it] think[s] the legislature logically might or should have made,”

Return Mail, Inc. v. United States Postal Serv., 139 S. Ct. 1853, 1867 n.11 (2019);

“rewrite a statute because [the court] might deem its effects susceptible of

improvement,” Badaracco v. Comm’r of Internal Revenue, 464 U.S. 386, 398 (1984);

or “assume that whatever furthers the statute’s primary objective must be the law,”

Rodriguez v. United States, 480 U.S. 522, 526 (1987) (per curiam) (emphasis in

original); see Talevski, 599 U.S. at 178 (“We implement Congress’s choices rather



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than remake them.”). In addition, to be unambiguous, a statute must have only one

“plausible” interpretation. Graham Cnty. Soil & Water Conservation Dist. v. U.S. ex

rel. Wilson, 545 U.S. 409, 419, n.2 (2005); Khan v. United States, 548 F.3d 549, 556

(7th Cir. 2008).

      Examined in accordance with those principles, section 1396u-2(f) is at the very

least plausibly interpreted not to give individual Medicaid providers section 1983-

enforceable private rights to require a State to enforce the Timely Payment Clause in

its contract with an MCO if the MCO breaches it. 4

            a.     The text of section 1396u-2(f) itself does not unambiguously
                   give providers a private right to have States enforce the
                   Timely Payment Clause.

      The majority opinion rightly did not find that the text of section 1396u-2(f)

itself unambiguously obliges States to enforce the Timely Payment Clause in their

contracts with MCOs or unambiguously gives individual providers a right to seek a

court order directing a State to enforce that claimed obligation if an MCO breaches

the Clause. Section 1396u-2(f)’s text does not clearly state, or even state at all, that

providers have any “rights” against a State. Nor does it clearly state that States have

an obligation to individual providers to enforce the Timely Payment Clause against

an MCO that does not pay providers on a timely basis. To the contrary, the text of

section 1396u-2(f) states only that States’ contracts with MCOs must include the




4
  HFS does not abandon, as St. Anthony asserts, see Doc. 92 at 12-13, HFS’s related
argument that the Timely Payment Clause does not unambiguously impose the default
30-day/90-day payment schedule for MCO payments to hospitals, as opposed to
“practitioners” covered by section 1396a(a)(37)(A). See Doc. 44 at 30-34.

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Timely Payment Clause, thereby giving States contractual rights against MCOs,

enforceable under well-established contract law principles. 5 That does not satisfy

Talevski’s first step.

         St. Anthony faults HFS for stating that section 1396u-2(f) manifests a “textual

silence” regarding the supposed duty by States to enforce the Timely Payment Clause

in the event of an MCO breach. Doc. 92 at 12. Relatedly, St. Anthony argues that

the majority opinion provides a “detailed analysis of Section u-2(f)’s text,” which

HFS ignores. Id. at 7, 11. St. Anthony is wrong. While the majority opinion quoted

section 1396u-2(f)’s text, it never identified any portion of that text that contains

rights-creating language that directly declares such a duty or the supposed private

right by individual providers to enforce it. Nor could it, because those words are not

there.

         Nevertheless, St. Anthony criticizes HFS for supposedly ignoring the “plain

meaning” of section 1396u-2(f)’s text and the majority’s description of it, stating:

         According to the Original Ruling, “[t]he text requires MCOs to contract
         that they ‘shall make payment to health care providers . . . on a timely
         basis.” 40 F.4th at 505 (underscoring added). The underscored
         language is the first and most important element of the statute.



5
    Section 1396u-2(f) states:
         A contract . . . with a medicaid managed care organization shall provide
         that the organization shall make payment to health care providers for
         items and services which are subject to the contract . . . on a timely basis
         consistent with the claims payment procedures described in section
         1396a(a)(37)(A) of this title, unless the health care provider and the
         organization agree to an alternate payment schedule . . . .
42 U.S.C. § 1396u-2(f).

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Doc. 92 at 12 (emphasis in original). But this language hardly supports St. Anthony’s

position. HFS does not dispute that section 1396u-2(f) requires an MCO’s contract

with a State to require the MCO to pay providers on a timely basis. That clearly

means that MCOs owe States a contractual duty to make timely payments to

providers, and that States have a contractual right to enforce that duty. It does not

say that States owe providers a statutory duty to enforce the Timely Payment Clause

against an MCO that breaches it.

      The relevant issue is not whether MCOs have an obligation to pay providers on

a timely basis, It is what means section 1396u-2(f) contemplates for enforcing that

obligation. And section 1396u-2(f)’s text clearly contemplates contract rights, by

States and providers alike, to do so. If Congress had wanted to create a statutory

duty to have MCOs pay providers on a timely basis, the most logical way to do so

would have been to impose that duty directly on MCOs, not by the circuitous route of

requiring States to force them MCOs to do so. But Congress did not create either

statutory duty. Thus, the text of section 1396u-2(f) itself, which provides for only

contract rights and remedies, does not meet Talevski’s rigorous step-one standard.

                b.    Medicaid Act provisions other than section 1396u-2(f)
                      do not establish that it unambiguously creates the state
                      duties and private rights that St. Anthony claims.

      As St. Anthony emphasizes, the majority opinion’s interpretation of section

1396u-2(f) relied heavily on provisions of the Medicaid Act other than section 1396u-

2(f), along with inferences the majority drew about what Congress intended by

enacting them. 40 F.4th at 509-10. But those other provisions fall short of meeting



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Talevski’s requirement that Congress employ “clear rights-creating language” that

“unambiguously” confers on individual providers a private right — here, the right to

have States enforce the Timely Payment Clause against a delinquent MCO. Talevski,

599 U.S. at 180, 186 (cleaned up).

                      i.    Under Talevski, St. Anthony’s interpretation of
                            section 1396u-2(f) must be the only plausible one.

       St. Anthony disputes that, to satisfy Talevski’s step one standard, its inter-

pretation of section 1396u-2(f) must be the only “plausible” one. Doc. 92 at 16-17.

Without offering an alternative definition of statutory “ambiguity” or any supporting

authority, St. Anthony appears to argue that section 1396u-2(f) creates private

enforcement rights even if it can be plausibly read not to create such rights, or not to

require States to enforce the Timely Payment Clause against delinquent MCOs. Id.

The reason for St. Anthony’s concern is obvious. But it is firmly settled that a

statute is ambiguous if it is susceptible to more than one “plausible” interpretation.

Graham Cnty., 545 U.S. at 419 n.2 (“Section 3731(b)(1) is ambiguous because its text,

literally read, admits of two plausible interpretations.”); see Warger v. Shauers, 574

U.S. 40, 50 (2014) (“the canon of constitutional avoidance . . . is a tool for choosing

between competing plausible interpretations” and “has no application in the absence

of . . . ambiguity”) (cleaned up); United States v. Nordic Vill. Inc., 503 U.S. 30, 37

(1992) (“plausible” alternative readings of statute prevented it from being

“‘unambiguous’”); Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 567

(2005) (declining to consider legislative history where statute was unambiguous

because party’s proposed reading of statute’s text was not plausible); Khan, 548 F.3d


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at 556 (“When there are two plausible but different interpretations of statutory

language, there is ambiguity.”); see also Chase Bank USA, N.A. v. McCoy, 562 U.S.

195, 207 (2011) (finding regulation ambiguous because both proposed interpretations

“are plausible”).

       Thus, no watered-down standard can satisfy the requirement that a Spending

Clause statute declare private individual rights and corresponding governmental

duties “unambiguously,” Talevski, 599 U.S. at 172, 180, 183; Gonzaga, 536 U.S. at

283, and with a “clear voice,” Gonzaga, 536 U.S. at 273-74, 280; see Pennhurst, 451

U.S at 17. And if a statute is ambiguous, it cannot be said to unambiguously confer

an individual right, as Talevski’s first step requires.

       Supreme Court precedent establishes that this strict standard is reinforced by

two principles relating to the courts’ role in interpreting and applying federal

Spending Clause statutes. First, because Congress has the power to make federal law

under the Spending Clause, separation-of-powers principles counsel against finding

private rights in less-than-clear statutory pronouncements. Gonzaga, 536 U.S. at

286; see Talevski, 599 U.S. at 183. Second, because Spending Clause statutes

implicate important federal-state relations, they may not be read to limit state

authority unless Congress “make[s] its intention to do so unmistakably clear in the

language of the statute.” Gonzaga, 536 U.S. at 286 (cleaned up; emphasis added).




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                       ii.   The Medicaid Act’s related provisions do not
                             unambiguously show that section 1396u-2(f)
                             gives providers an individual right to require
                             States to enforce the Timely Payment Clause in
                             their contracts with MCOs.

       The Medicaid Act’s provisions other than section 1396u-2(f) do not satisfy

Talevski’s clear statement rule by providing a broader statutory context that makes

St. Anthony’s interpretation of section 1396u-2(f) the only plausible one. If St.

Anthony had to identify where in the Medicaid Act it contains “clear rights-creating

language” “unambiguously” supporting that interpretation, Talevski, 599 U.S. at

180, 183, 186 (cleaned up), it could not do so — either in section 1396u-2(f) itself, or

elsewhere in the Act. 6

       Relying, nonetheless, on the Medicaid Act’s ancillary provisions, St. Anthony

asserts that HFS “ignores” the majority opinion’s discussion of them, Doc. 92 at 12,

14; fails to explain why the Medicaid Act’s “monitoring and reporting” provisions are

“consistent with its view” that section 1396u-2(f) gave it a contractual right, not a

statutory duty, to enforce the Timely Payment Clause in its contracts with MCOs, id.



6
  Not surprisingly, St. Anthony has abandoned its original theory that the Timely
Payment Clause’s reference to section 1396a(a)(37)(A)’s “procedures” — specifying the
types of claims (“clean claims”), providers (“practitioners [in] individual or group
practices or . . . shared health facilities”), and time frame for States’ direct payments in a
traditional Medicaid fee-for-service program (90% within 30 days, 99% within 90 days),
42 U.S.C. § 1396a(a)(37)(A) — imposes on States a statutory duty to require MCOs to
comply with that schedule. See Doc. 53 at 8. Congress cannot possibly have chosen such
an oblique and obscure reference in the definition of an MCO’s contractual obligations to
a State as the means to impose such far-reaching statutory duties on States, much less be
deemed to have done so unambiguously. See Whitman v. Am. Trucking Ass’ns, 531 U.S.
457, 468 (2001) (“Congress . . . does not alter the fundamental details of a regulatory
scheme in vague terms or ancillary provisions — it does not, one might say, hide
elephants in mouseholes.”).

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at 15; and “does not explain what is wrong with” the majority’s conclusion that “the

more coherent view” of States’ “monitoring and data-gathering duties” is that these

duties “evidence Congress’ intent that HFS has the duty to do something with the

data” if it shows “that MCOs are not complying with the Timely Payment Provision,”

id. at 16.

       To the contrary, HFS’s Rule 54 statement addressed these issues, if not in the

degree of detail appropriate for full briefing (which the statement requested, and the

court granted). Explaining why the majority opinion was inconsistent with

Talevski’s first step, HFS stated that “provisions of the Medicaid Act relating to a

State’s oversight of MCOs . . . are perfectly consistent with Congress’s choice to give

States contractual rights against MCOs concerning their payments to providers,” and

that, accordingly, “it cannot be said that . . . those provisions demonstrate that

section u-2(f) means what it does not say and ‘unambiguously’ establishes that States

owe providers a duty to ensure that MCOs pay providers in accordance with the

Timely Payment Clause in the MCOs’ state contracts. Talevski, 143 S. Ct. at 1450,

1455, 1457.” Doc. 87 at 10 (footnote omitted). HFS also explained, in particular,

that section 1396u-2(e)(3), discussed below, does not require States to take any action

against an MCO if it violates the Timely Payment Clause — or even apply to that

situation. Id. at 10 n.1. Tellingly, St. Anthony itself makes no effort to explain why

that is not a correct, or at least plausible, interpretation of section 1396u-2(f) and the

Medicaid Act read as a whole — namely, that States’ oversight powers are “perfectly

consistent with Congress’s choice to give States contractual rights against MCOs



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concerning their payments to providers.” Id. at 10.

      Initially, it is worth noting that no one disputes that section 1396u-2(e)(4),

which authorizes a State to terminate an MCO’s contract if the MCO breaches the

contract, expressly gives States discretion about whether to do so. 42 U.S.C. § 1396u-

2(e)(4). That is, of course, consistent with a congressional intent to give States

discretionary contractual rights against MCOs with respect to the MCOs’ contractual

obligations to make timely payments to providers.

      Section 1396u-2(e)(3), which relates to “intermediate sanctions” against an

MCO, is not to the contrary. And in light of what HFS’s Rule 54 statement said

about this provision, Doc. 87 at 10 n.1, it is significant that St. Anthony avoids

mentioning it, despite the critical part of the majority’s opinion holding that it

requires a State to impose intermediate sanctions “if an MCO has ‘repeatedly failed

to meet the requirements’ of its contract with the State.” 40 F.4th at 510 (quoting 42

U.S.C. § 1396u-2(e)(3); emphasis added). But that is not what section 1396u-2(e)(3)

says. Section 1396u-2 subjects participating MCOs to various defined statutory

duties, and also to contractual duties under their contracts with a State. Section

1396u-2(e) tracks this distinction, specifying certain sanctions against an MCO that

are allowed or required for violating identified statutory duties or contractual duties,

respectively. 7 And HFS explained that section 1396u-2(e)(3) requires intermediate



7
  For example, section 1396u-2(e)(4) states that a State may terminate the contract of
an MCO that “has failed to meet the requirements of this part or a contract under section
1396b(m).” 42 U.S.C. § 1396u-2(e)(4) (emphasis added). Section 1396u-2(e)(1)(A) lists
specific situations in which a State may impose intermediate sanctions against an MCO,


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sanctions only for an MCO’s violations of its statutory duties — “the requirements of

section 1396b(m) of this title and this section” — not any contractual obligations

under the Timely Payment Clause in the MCO’s contract with a State. Doc. 87 at 10

n.1. St. Anthony neither disputes this point nor acknowledges its significance,

eliminating the only Medicaid Act provision the majority identified as requiring a

State to take enforcement action against an MCO for breaching the Timely Payment

Clause in its contract.

      The majority opinion’s reliance on section 1396u-2(c)(2)(A)(1), 40 F.4th at 509,

which St. Anthony also invokes, Doc. 92 at 22, is likewise misplaced. That provision

requires a State’s contract with an MCO to provide for an annual “external

independent review . . . of the quality outcomes and timeliness of, and access to, the

items and services for which the organization is responsible under the contract.” 42

U.S.C. § 1396u-2(c)(2)(A)(i) (emphasis added). The majority stated that this

examination includes a review of the “‘timeliness’ of MCO . . . payments.” 40 F.4th at

509 (emphasis added). But this section does not say that such a review shall examine

MCO “payments.” And the Medicaid Act, including in section 1396u-2, consistently

uses the term “items and services” to refer to medical supplies and services provided

to enrolled individuals. See, e.g., 42 U.S.C. §§ 1396u-2(a)(5)(B)(4), 1396u-2

(d)(1)(A)(ii), 1396u-2(e)(1)(A)(i); 1396u-2(h)(4)(D).




including where the MCO “fails substantially to provide medically necessary items and
services that are required (under law or under such organization’s contract with the
State) to be provided to an enrollee covered under the contract.” 42 U.S.C. § 1396u-
2(e)(1)(A)(i) (emphasis added).

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      In any event, even if section 1396u-2(c)(2)(A)(1) did require external audits of

the timeliness of MCO payments to providers, that still would not mandate St.

Anthony’s interpretation of section 1396u-2(f) to require States to enforce the Timely

Payment Clause against MCOs that breach it. Instead, it would give States

information relevant to determining whether, and to what extent, an MCO was

complying with the Timely Payment Clause, and thus whether they should exercise

their discretion to enforce the Clause.

      Section 1396b(m)(2)(A)(iv), on which the majority opinion also relied, 40 F.4th

at 509, likewise fails to support the conclusion that section 1396u-2(f) impliedly

obliges States to enforce the Timely Payment Clause against an MCO that fails to

pay providers on a timely basis. That provision specifies that the federal government

may not pay a State for medical assistance provided by an MCO unless its contract

with the State provides that the State “shall have the right to audit and inspect” the

MCO’s “books and records . . . that pertain . . . to services performed or determina-

tions of amounts payable under the contract.” 42 U.S.C. § 1396b(m)(2)(A)(iv)(II).

Again, the information a State may obtain by exercising its “right” to conduct such

an audit can help it evaluate the MCO’s “determinations of amounts payable” under

its contract, thereby facilitating a decision about whether the State should exercise

its discretion to enforce the Timely Payment Clause in its contract with an MCO.

But nothing about a State’s ability to obtain such information conflicts with, or is

inconsistent with, the notion that section 1396u-2(f) gives States a discretionary

contractual right to enforce the Timely Payment Clause.



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      St. Anthony, like the panel majority, also attaches significance to section

1396u-2(h)(2)(B) of the Medicaid Act, which was enacted a dozen years after section

1396u-2(f), governs managed-care programs for Indian health care providers, and

requires a State’s contract with an MCO to condition payment to the MCO on its

“agree[ment] to make prompt payment” to such providers, “consistent with rule for

prompt payment of providers under section 1396u-2(f) of this title.” 42 U.S.C.

§ 1396u-2(h)(2)(B) (emphasis added). St. Anthony suggests that this reference

somehow shows Congress’s intent, when it enacted section 1396u-2(f) a dozen years

earlier, to require a State to enforce the Timely Payment Clause in its contract with

an MCO that breaches it. Doc. 92 at 13 (citing St. Anthony Hosp., 40 F.4th at 506).

This later enactment does no such thing. Even if it were relevant to determining

what an earlier Congress meant, but see O’Gilvie v. United States, 519 U.S. 79, 90

(1996) (“the view of a later Congress cannot control the interpretation of an earlier

enacted statute”), this provision, like section 1396u-2(f), defines the terms of an

MCO’s contractual agreement to pay providers, and its shorthand reference to section

1396u-2(f)’s “rule for prompt payment of providers” simply refers to the contract

terms that section 1396u-2(f) specifies for such MCO payments. In any event, it

cannot take precedence over section 1396u-2(f)’s own text for purposes of

determining its meaning.

       St. Anthony also emphasizes that HFS’s Rule 54 statement did not address

the majority opinion’s reference to the section heading of the 1997 law that added

section 1396u-2(f): “Assuring Timeliness of Provider Payments.” Doc. 92 at 13.



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According to the majority, that heading “signals that Congress intended section

1396u-2(f) to assure, i.e., to guarantee, timely payment to providers.” 40 F.4th at

505-06 (quoting Public Law 105-33, § 4708(c)). In fact, the heading merely refers to

the agreement by MCOs to pay providers on a timely basis, not to a statutory duty by

States to guarantee such payments. The term “assurance” is defined as “a promise,”

Cambridge Dictionary, and “[s]omething that gives confidence,” Black’s Law

Dictionary (11th ed. 2019). Indeed, section 1396u-2(h)(2), on which St. Anthony also

relies, uses the heading “Assurance of payment to Indian health care providers for

provision of covered services” to refer to an MCO’s contractual “agree[ment]” to

promptly pay Indian health care providers. 42 U.S.C. § 1396u-2(h(2) (emphasis

added). In any event, a section heading “will not . . . ‘override the plain words’ of a

statute,” Dubin v. United States, 599 U.S. 110, 121 (2023), and instead can assist only

“for the resolution of a doubt,” id. at 121 (cleaned up), or “ambiguity,” Brotherhood

of R.R. Trainmen v. Baltimore & Ohio R. Co., 331 U.S. 519, 529 (1947). And if

section 1396u-2(f)’s text were ambiguous, the court would have to reject St.

Anthony’s proposed interpretation.

      In short, to the extent that the Medicaid Act’s provisions other than section

1396u-2(f) are relevant to determining if section 1396u-2(f) confers a private right,

these provisions give States a valuable tool to decide whether to exercise their

contractual discretion to enforce the Timely Payment Clause. They are, therefore,

not in conflict with, but fully consistent with, Congress’s intent to give States that

contractual right, not a statutory duty, to enforce the Timely Payment Clause in



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their contracts with MCOs. 8 Consequently, those provisions do not individually or

collectively “manifest[] an ‘unambiguous’ intent” by Congress, using “explicit rights-

creating terms,” “to create individually enforceable rights” by providers to require

States to enforce the Timely Payment Clause in their contracts with MCOs if an

MCO breaches it. Gonzaga, 536 U.S. at 280, 284; see Talevski, 599 U.S. at 180, 183.

                       iii. Any uncertainty arising from the Medicaid Act’s
                            ancillary provisions should be resolved against
                            St. Anthony’s interpretation of section 1396u-2(f).

       Even if the Medicaid Act’s provisions besides section 1396u-2(f) could create

any uncertainty about whether section 1396u-2(f) satisfies Talevski’s clear statement

rule for showing private rights, that uncertainty should be resolved against such an

interpretation for two significant reasons. First, that interpretation would conflict

with section 1396u-2(f)’s express grant to States of a contractual right, and

corresponding contractual discretion, to enforce the Timely Payment Clause against

an MCO. Such an interpretation offends the principle that a statute should be read,

if possible, not to contradict itself or negate what it otherwise provides. Honeycutt v.

United States, 581 U.S. 443, 454 (2017) (“[T]he Court cannot construe a statute in a

way that negates its plain text.”); see also Biden v. Texas, 142 S. Ct. 2528, 2533, 2541

(2022) (where statute specifically gave government discretion, Court would not read


8
  That conclusion is reinforced by virtually identical language, adopted in the same
legislative enactment that added section 1396u-2(f), that governs Medicare contracts
between the federal government and private entities that operate like MCOs. Pub. L.
105-33, Title IV, § 4001, now codified at 42 U.S.C.A. § 1395w-27(f)(1), (2); see Pereira v.
Sessions, 138 S. Ct. 2105, 2115 (2018). That language, along with related provisions,
makes clear that if the entity fails to comply with its contractual agreement to pay
providers in a timely basis, the government has discretion over whether to take any
action, and what action to take.

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into it a mandatory duty “through an unspoken inference in conflict with” that

discretion). This court recently applied that very principle in Roberts v. Federal

Housing Finance Agency, 889 F.3d 397 (7th Cir. 2018), stating: “[S]ection

4617(b)(2)(D) [of the Housing and Economic Recovery Act] cannot require the Agency

to ‘preserve and conserve’ the companies’ assets as a conservator, or else it would

conflict with the discretionary grant of the same authority in section 4617(b)(2)(B) or

render it superfluous.” Id. at 404 (emphasis in original). The same situation is

presented here, where St. Anthony argues that section 1396u-2(f) impliedly requires

States to take action for which the statute expressly gives States a contract right that

is discretionary.

       Second, the unusual nature of the right that St. Anthony attributes to section

1396u-2(f) — in which a private party may have a federal court review state executive

officials’ decision not to exercise their enforcement authority against other persons —

would be in serious tension with well-established separation-of-powers and

federalism principles. Effectuating the historic deference given to executive officials’

discretionary decisions regarding the exercise of their enforcement authority,

statutes are presumed not to grant judicial review of decisions not to pursue

enforcement action. See, e.g., Heckler v. Chaney, 470 U.S. 821, 831-32 (1985). That

concern is accentuated regarding claims that federal courts should review such

decisions by state officials. See Gonzaga, 536 U.S. at 286. Further, the Ex parte

Young exception to state sovereign immunity does not permit federal courts to

control the exercise of state officials’ discretion. Ex parte Young, 209 U.S. 123, 158



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(1908); Seminole Tribe of Fla. v. State of Fla., 11 F.3d 1016, 1028-29 (11th Cir. 1994),

aff’d, 517 U.S. 44 (1996). Yet that is effectively what St. Anthony says section 1396u-

2(f) gives federal courts the power to do, at the behest of private Medicaid providers:

assume control over States’ discretion about whether, when, and how to exercise

their rights against MCOs under the Timely Payment Clause. Informed by these

concerns, the court should instead avoid that interpretation unless the Medicaid Act

clearly compels it. But the Act does not compel that interpretation, or even fairly

support it.

                 c.   The perceived relative effectiveness of contract-based
                      and section 1983 enforcement of the Timely Payment
                      Clause does not satisfy Talevski’s clear statement rule.

      The majority opinion also conflicts with Talevski’s clear statement rule by

basing its interpretation of section 1396u-2(f) on the supposed inadequacy of a State’s

contract rights, compared to section 1983 enforcement by providers, to implement

Congress’s goal to have MCOs make timely payments to providers. Talevski held

that “[c]ourts must apply traditional tools of statutory construction to assess whether

Congress has ‘unambiguously conferred’ ‘individual rights upon a class of

beneficiaries’ to which the plaintiff belongs.’” Talevski, 599 U.S. at 183 (quoting

Gonzaga, 536 U.S. at 283, 285-86). Those tools, as noted, establish that a court “may

not replace the actual text with speculation as to Congress’ intent,” Castro-Huerta,

142 S. Ct. at 2496 (cleaned up); “engraft on a statute additions which [it] think[s] the

legislature logically might or should have made,” Return Mail, 139 S. Ct. at 1867

n.11; “rewrite a statute because [the court] might deem its effects susceptible of



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improvement,” Badaracco, 464 U.S. at 398; or “assume that whatever furthers the

statute’s primary objective must be the law,” Rodriguez, 480 U.S. at 526 (emphasis in

original). As the Supreme Court explained in Rodriguez, “no legislation pursues its

purposes at all costs,” and “[d]eciding what competing values will or will not be

sacrificed to the achievement of a particular objective is the very essence of legislative

choice.” Id. at 525-26; see Talevski, 599 U.S. at 178 (“We implement Congress’s

choices rather than remake them.”).

      The majority opinion departed from these principles when it assessed the

comparative effectiveness of contract-based and section 1983 enforcement of the

Timely Payment Clause and concluded that a state official “would not reasonably

have concluded that Congress intended” section 1396u-2(f) to “be only a proverbial

paper tiger.” 40 F.4th at 511; see id. at 509, 510 (describing HFS’s interpretation of

the Timely Payment Clause as mandating “only a ‘paper’ requirement” and

requiring “merely the formality of contract language”); see also Webster’s New World

College Dictionary (4th ed.) (defining “paper tiger” as “a person, nation, etc. that

seems to pose a threat but is actually ineffective or powerless”). St. Anthony argues

that this conclusion “accurately followed Pennhurst and its progeny to find that

HFS’s alternative interpretation “conflicts” with the statutory scheme,” even though

the majority “did not use the specific words ‘unambiguous’ or ‘plausible.’” Doc. 92 at

18. Quite the contrary. The majority improperly deemed a State’s contract right

under the Timely Payment Clause to be ineffective, and then relied on that view to

exclude the possibility that section 1396u-2(f) relies on contract rights to implement



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MCOs’ duty to pay providers on a timely basis. 40 F.4th at 509-10.

      Even if that view were correct, it would not meet Talevski’s step-one standard

requiring “clear ‘rights-creating language’” that “unambiguously confer[s] individual

federal rights” on private parties. 599 U.S. at 180, 186 (emphasis in original). But

there is, in fact, a middle option that the majority improperly rejected, under which

the Timely Payment Clause gives States a significant contract right, in addition to

providers’ rights to enforce their own contracts with MCOs, to enforce the Timely

Payment Clause, and even terminate an MCO’s contract for breaching that Clause.

See 42 U.S.C. § 1396u-2(e)(4). That power, while committed to a State’s discretion, is

no “paper tiger.”

      Of course, it can be argued that such discretion is insufficient to guarantee

that MCOs will always pay providers on a timely basis, and that a State could abuse

its discretion by doing nothing in face of egregious circumstances. But “[i]t is always

a doubtful course, to argue against the use or existence of a power, from the

possibility of its abuse.” Martin v. Hunter’s Lessee, 14 U.S. 304, 344–45 (1816).

      Neither St. Anthony nor the majority opinion contend that section 1396u-2(f)

requires States to achieve the impossible feat of preventing MCOs from ever failing to

meet the Timely Payment Clause’s payment schedule. The majority’s answer to this

problem was to limit a State’s statutory duty to responding to situations in which

“MCOs systematically are not paying providers on a timely basis.” 40 F.4th at 510;

see id. at 512, 514-15, 519. But that qualification is nowhere found in section 1396u-

2(f)’s text, and a court cannot simply add it to produce what it considers to be a more



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workable policy. Return Mail, 139 S. Ct. at 1867 n.11; Badaracco, 464 U.S. at 398.

Thus, the relevant concern — again involving the question of who controls

enforcement of the Timely Payment Clause — is what a State does when an MCO

breaches the Clause, either to a minor degree or more seriously. And in light of the

range of possible departures from the Timely Payment Clause’s payment schedule,

from minor to pervasive, it makes sense to give contractual enforcement discretion to

a States, which is well suited to evaluate all relevant considerations about whether,

when, and how to enforce the Timely Payment Clause.

      In addition, reading section 1396u-2(f) to oblige States, by implication, to

enforce the Timely Payment Clause if an MCO breaches it would contradict what

section 1396u-2(f) provides expressly. Section 1396u-2(f) explicitly gives States a

contractual right, under the Timely Payment Clause, to require MCOs to pay

providers on a timely basis. This contractual right gives States discretion over

enforcement of the Timely Payment Clause. Yet St. Anthony’s interpretation of

section 1396u-2(f) would contradict and negate that discretion, and thus conflict with

a central aspect of the enforcement scheme based on contract rights that Congress

specifically established. See Honeycutt, 581 U.S. at 454 (2017); see also Biden v.

Texas, 142 S. Ct. at 2541; Roberts, 889 F.3d at 404.

      Gonzaga also holds that, even at the first-step inquiry, an alternative

enforcement “mechanism” in a Spending Clause statute, even if not “sufficiently

comprehensive,” can undercut a claim that the statute unambiguously creates

private rights enforceable under section 1983. 536 U.S. at 289-90 & n.8 (cleaned up).



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Given section 1396u-2(f)’s express adoption of contract-based rights to enforce

MCOs’ contractual obligation to pay providers on a timely basis, that consideration

applies here and further undermines St. Anthony’s claim that section 1396u-2(f)

gives providers an unambiguous private right to require States to enforce the Timely

Payment Clause.

      Thus, especially given the plain meaning of section 1396u-2(f)’s own text, all

state officials, or even a substantial number of them, cannot be assumed to read into

section 1396u-2(f) a duty it does not express, even if that duty might represent a

better policy. “The people are entitled to rely on the law as written, without fearing

that courts might disregard its plain terms based on some extratextual

consideration.” Bostock v. Clayton Cnty., Ga., 140 S. Ct. 1731, 1749 (2020); see

Talevski, 599 U.S. at 178 (“We implement Congress’s choices rather than remake

them.”). Talevski’s stringent standard is not met by hypothesizing what a state

official would think Congress might have meant by what it did not say. See

Pennhurst, 451 U.S. at 17-18 (“in those instances where Congress has intended the

States to fund certain entitlements as a condition of receiving federal funds, it has

proved capable of saying so explicitly”); Maryland Psychiatric Soc., Inc. v.

Wasserman, 102 F.3d 717, 720 (4th Cir. 1996) (“If Congress intended states to pay

the 37.5% exclusion for outpatient psychiatric services for QMBs, it certainly did not

say so explicitly, clearly, and unambiguously.”).

      Based on what section 1396u-2(f) actually says, as well as commonly

understood contract principles, a reasonable state official could, and would, assume



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that if an MCO breached the Timely Payment Clause in its contract, that breach,

depending on its severity and duration, might warrant action by the State to secure

compliance. That assumption, which recognizes the discretionary nature of contract

enforcement by a party that holds the contract right, is particularly reasonable

because the regulation implementing section 1396u-2(f), while reaffirming a State’s

obligation to include the Timely Payment Clause in its contracts with MCOs, says

nothing about a duty by States to enforce that Clause if an MCO breaches it. See 42

C.F.R. § 447.46; see also Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 220 (2016)

(describing deference to agency regulations).

      At bottom, how to implement the policy of having MCOs make timely

payments to providers, and how effectively to do so, represent quintessentially

legislative choices on which courts may not substitute their own policy views. See,

e.g., Talevski, 599 U.S. at 178. The fact that the contractual right that section u-2(f)

gives States might not guarantee that MCOs will always meet the contractually

prescribed payment schedule does not allow a court to rewrite what Congress enacted

to provide what the court believes would better achieve that goal. See Rodriguez, 480

U.S. at 526. Accordingly, even if there were a valid basis to conclude that

discretionary contract enforcement of the Timely Payment Clause by States, in

addition to providers’ own rights to enforce their contracts with MCOs, is deficient

compared to the statutory duty that St. Anthony says section 1396u-2(f) imposes,

that still would not justify finding that section 1396u-2(f) unambiguously imposes on

States a statutory duty that its express terms do not state.



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       In sum, the court cannot fairly conclude that section 1396u-2(f) does not

plausibly mean what it expressly says and instead unambiguously means what it does

not say. Section u-2(f) therefore fails at Talevski’s first step, and the district court’s

judgment dismissing St. Anthony’s section 1983 claim under section 1396u-2(f)

should be affirmed.

       B.   A statutory right by individual Medicaid providers to require
            States to enforce the Timely Payment Clause against MCOs is
            inconsistent with the enforcement scheme, based on contract
            rights, that Congress expressly established in section 1396u-2(f).

       Even if section 1396u-2(f) could be read to unambiguously give Medicaid

providers the individual private right that St. Anthony attributes to it, the

presumption that this right is enforceable under section 1983 is rebutted because

such enforcement would be inconsistent with the contract-based enforcement scheme

that section 1396u-2(f) expressly establishes. Enforcement of a Spending Clause

statute under section 1983 is excluded, Talevski held, where the statute, examined

using “ordinary interpretive tools,” shows that “Congress intended that statute’s

remedial scheme to be the exclusive avenue through which a plaintiff may assert his

claims.” 599 U.S. at 189 (cleaned up). The controlling question “is whether the

design of the enforcement scheme in the rights-conferring statute is inconsistent

with enforcement under § 1983, such that a court must infer that Congress did not

intend to make available the § 1983 remedy for these newly created rights.” Id. at

187 (cleaned up); see also id. at 187 (noting that the Court has used different terms

and concepts, including “incompatible,” “inconsistent,” and “thwart,” to describe

this “discordance”) (cleaned up).


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      Evidence signifying an intent to exclude section 1983 enforcement, Talevski

further held, includes “an express private judicial right of action.” Id. at 188. That

was illustrated, the Court explained, by its decisions finding such an intent in

statutes that included a “statute-specific right of action [that] offered fewer benefits

than those available under § 1983,” so that recognizing private rights enforceable

under section 1983 would have “given plaintiffs access to tangible benefits as

remedies that were unavailable under the statutes.” Id. at 1461 (cleaned up). For

example, the Court noted, in Rancho Palos Verdes v. Abrams, 544 U.S. 113 (2005), it

held that “§ 1983’s operation would have ‘distorted’ the pertinent other statute’s

remedial scheme.” Talevski, 599 U.S. at 170 (quoting Rancho Palos Verdes, 544 U.S.

at 127) (cleaned up)). That was the case in Rancho Palos Verdes because, among

other things, a section 1983 action, unlike the remedy provided in the statute, would

have given the plaintiff a right to attorney’s fees in the context of “a complex and

novel statutory scheme.” 544 U.S. at 122-23.

      Justice Barrett, concurring in Talevski, agreed that “the presence of an

‘express private judicial right of action’ typically demonstrates that a § 1983 suit is

not also available.” 599 U.S. at 194 (quoting majority opinion, 599 U.S. at 188). She

added that “an actual clash — one private judicial remedy against another, more

expansive remedy — is not required to find that a statute forecloses recourse to

§ 1983,” and that a variety of circumstances can indicate Congress’s intent not to

make statutory rights enforce-able under section 1983.” Id. Indicia of such an

intent, she observed, include “enforcement provisions” that “confer authority to sue



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. . . on government officials,” “a centralized review mechanism that would be

undermined by piecemeal litigation,” and “the overall comprehensiveness of the

statute’s enforcement scheme.” Id.

      This court’s vacated opinion does not align with these principles announced in

Talevski. Instead, it focused on whether, from a provider’s perspective, section 1983

enforcement would have advantages over contract-based enforcement. 40 F.4th at

514-15. But Talevski explained that the existence of a less comprehensive private

remedy is a reason not to find an intent to allow enforcement under section 1983.

599 U.S. at 189; id. at 194-95 (Barrett, J., concurring). And allowing such

enforcement would seriously interfere with the contract-based enforcement

framework that Congress did establish under section 1396u-2(f), which, under

Talevski, shows Congress’s intent to exclude section 1983 enforcement.

           1.   The court’s vacated opinion incorrectly relied on the
                supposed superiority of section 1983 enforcement over
                contract enforcement.

      The vacated opinion conflicts with Talevski because it relied on the supposed

superiority of section 1983 enforcement over the contract rights that section 1396u-

2(f) expressly contemplates. By its terms, section 1396u-2(f) provides for two sets of

contract rights — by providers, under their contracts with MCOs, and by States,

under their separate contracts with MCOs — to enforce MCOs’ duty to pay providers

on a timely basis. 42 U.S.C. § 1396u-2(f); see St. Anthony Hosp., 40 F.4th at 508. The

obvious reason for mandating such contract provisions is to have the rights and

remedies under them governed by contract law. See Jackson Transit, 457 U.S. 15,



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20-23, 29 & nn.12, 13. But the majority held that Congress did not intend these

rights to be exclusive, thus excluding section 1983 enforcement, because they are not

obviously “superior” to enforcement under section 1983. 40 F.4th at 515. That

holding is unsound under Talevski.

       The majority characterized both providers’ own contract rights against MCOs

and States’ contract rights under the Timely Payment Clause as starkly inferior “to a

systemic solution” imposed by a State under court order. 40 F.4th at 510, 515. 9 But

the perceived superiority of section 1983 enforcement over contract-based enforce-

ment is neither a basis to find that section 1396u-2(f) presumptively creates the right

alleged by St. Anthony, see supra at 37, nor a valid reason to hold that Congress

intended to allow section 1983 enforcement. As Talevski held, the Supreme Court

has directly rejected the notion that Congress intended to allow section 1983

enforcement because it would allow additional remedies or be more convenient than

the enforcement scheme that Congress expressly contemplated. 599 U.S. at 189; id.

at 194-95 (Barrett, J., concurring); see also Rancho Palos Verdes, 544 U.S. at 121


9
  A significant premise for this conclusion was the majority’s assumption that providers
could not effectively enforce their own contracts with an MCO if it failed to make
payments on a timely basis. 40 F.4th at 515. According to the majority, “[a]rbitration
provisions in those contracts would likely require arbitration for each individual claim in
dispute,” resulting in “a claim‐by‐claim adjudication on the individual provider‐MCO
level, across many thousands of claims, all in their own arbitrations,” which could “easily
involve many thousands of individual claims each year” and would not “vindicate the
provider’s right to prompt payment.” Id. That premise is unsound. Nothing prevents a
breach of contract action, whether in court or before an arbitrator, from including
multiple breaches of the same contract. Indeed, any claim by a provider relating to an
MCO’s alleged violation of its duty to pay a certain percentage of claims within a
specified time (e.g., 90% in 30 days) would necessarily encompass multiple Medicaid
claims, not a single Medicaid claim, which by itself could not violate that percentage
requirement.

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(“the existence of a more restrictive private remedy for statutory violations has been

the dividing line between those cases in which we have held that an action would lie

under § 1983 and those in which we have held that it would not”). Section 1396u-2(f)

authorizes providers and States to enforce their respective contract rights to have

MCOs make timely payments, and section 1983 enforcement cannot be added to

those rights simply because a provider might find the relief it offers, including

attorney’s fees, more attractive or expedient. See Rancho Palos Verdes, 544 U.S. at

122-23.

             2.   Section 1983 enforcement would interfere with the
                  contract-based enforcement scheme that section
                  1396u-2(f) expressly establishes.

      Under Talevski, section 1396u-2(f) does not authorize private section 1983

enforcement for the additional reason that it would disrupt, and thus be inconsistent

with, the contract-based system that section 1396u-2(f) expressly establishes for

enforcing MCOs’ obligations to pay providers on a timely basis. Layering section

1983 enforcement over such contract-based enforcement would seriously interfere

with the application of those contract rights under a State’s contract with an MCO,

which give States discretion to determine, based on the particular circumstances

presented, whether to seek enforcement, and how to do so. Giving providers a right

to seek a federal court order forcing States to ensure timely payments by MCOs

would negate that discretion, and thus defeat a central aspect of the contract-based

enforcement scheme that Congress specifically established. See Biden v. Texas, 142

S. Ct. at 2541 (where statute specifically gave government discretion, Court would



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not read into it a mandatory duty “through an unspoken inference in conflict with”

that discretion); Roberts, 889 F.3d at 404.

      The situation here thus resembles the one in Middlesex County Sewerage

Authority v. National Sea Clammers Ass’n, 453 U.S. 1, 13 (1981), where the relevant

statute “confer[ed] authority to sue . . . both on government officials and private

citizens.” There, as Justice Barrett noted in Talevski, the statute gave “government

officials” the “authority to sue.” 599 U.S. at 195 (cleaned up). Such enforcement

authority by the government includes broad discretion about whether to take action

in a particular situation. See Heckler, 470 U.S. at 831-32. A State’s authority to

enforce the Timely Payment Clause in its contract with an MCO is no different, for it

likewise gives the State discretion to decide when, and how, to act against an MCO.

But giving providers the ability, under section 1983, to force a State to take such

action would negate that discretion, and thus displace and disrupt the contract-based

enforcement scheme that section 1396u-2(f) establishes.

      It is no answer to say, as St. Anthony does, that States will retain some

discretion over what remedy is appropriate if a federal court first finds that the State

has liability because it failed to prevent, or act forcefully enough against, an MCO’s

systemic failure to make timely payments. Doc. 92 at 21-22. States will lose all the

discretion that contract law gives them over whether and when to enforce the Timely

Payment Clause against an MCO that fails to pay providers on time. They will also

lose their ultimate contract-based discretion over how to enforce the Timely Payment

Clause in such a situation. Negating a State’s contractual discretion in this way is



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clearly inconsistent with the comprehensive, contract-based enforcement scheme that

Congress expressly established under section 1396u-2(f) for securing compliance with

MCOs’ duty to pay providers on a timely basis.

      The private right that the majority attributed to section 1396u-2(f) would also

seriously interfere with the contract-based enforcement mechanism to resolve

payment-related disputes between providers and MCOs under their own contracts, as

Congress also expressly contemplated in section 1396u-2(f). Any section 1983 claim

by a provider against a State under section 1396u-2(f) would depend on proof that the

MCO breached the timely payment provision in its contract with the provider. In

addition, the provider’s section 1983 action demanding that the State be ordered to

force the MCO to accelerate its payments would have to include the MCO as a

required party. See Fed. R. Civ. P. 19(a)(1)(B); United States ex rel. Hall v. Tribal

Dev. Corp., 100 F.3d 476, 478-79 (7th Cir. 1996); Sladek v. Bell Sys. Mgmt. Pension

Plan, 880 F.2d 972, 979-80 (7th Cir. 1989); see also N. Ind. R. Co. v. Mich. Cent. R.

Co., 56 U.S. 233, 245-46 (1853). 10 The provider then would likely have to join any

underlying claims it had against the MCO, including claims under the contract

between them, to avoid being later barred from asserting those claims under

preclusion principles. See 6A, C. Wright & A. Miller, Fed. Prac. & Proc. Civ. (3d ed.)

§ 1582, text accompanying n.23. And although the provider’s statutory claim against

the State and its contract claim against the MCO would have some distinct elements,



10
   St. Anthony mistakenly asserts that HFS never raised this issue before. Doc. 92 at 24.
It did. Doc. 44 at 29.


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they would also share a common core of essential elements relating to whether the

MCO was paying the provider on time (in turn raising potential disputes about

whether disputed claims were “clean,” whether the services were covered by the

MCO’s plan, whether the provider obtained any prior authorization required by the

plan, and when the claim was paid or denied).

      A further complicating factor would arise if, as is common in the industry, the

contracts between providers and MCOs contain a binding arbitration clause, for in

that case the district court could not resolve the provider’s section 1396u-2(f) claim in

derogation of an MCO’s arbitration rights, including any dispute over whether the

MCO complied with the payment terms in its contract with the provider. See

Southland Corp. v. Keating, 465 U.S. 1, 7 (1984); Rao v. Rao, 718 F.2d 219, 225 (7th

Cir. 1983). In this way, too, section 1983 enforcement of section 1396u-2(f) by a

provider against a State would collide with, and thus be incompatible with, the

contract-based enforcement mechanism for resolving payment disputes between

providers and MCOs. 11

      St. Anthony contends that such arbitration proceedings would be limited to

disputes over individual Medicaid claims and would not encompass payment disputes

between providers and MCOs “at the system level.” Doc. 92 at 23. But it is highly

unlikely that an arbitration agreement between a provider and MCO would apply




11
  St. Anthony notes that a provider’s section 1983 claim against a State would not be
precluded by an arbitration agreement between them. Doc. 92 at 23. HFS has never
suggested the contrary. But that does not eliminate the procedural obstacle arising from
arbitration agreements between providers and MCOs.

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only to individual Medicaid claims and carve out broader payment disputes under

their contract. And if the arbitration clause did cover such broader disputes,

arbitration would have to take precedence before the provider could obtain (if at all)

systemic relief against an MCO indirectly through relief against a State in a section

1983 action in federal court. 12

                                    *      *      *

       In sum, St. Anthony’s section 1983 claim under section 1396u-2(f) fails each

step of the Talevski/Gonzaga analysis, and for this reason the district court’s

judgment dismissing that claim should be affirmed.




12
   St. Anthony argues that a provider’s section 1983 claim against a State would not be
precluded by an arbitration agreement between them. Doc. 92 at 23. HFS has never
suggested the contrary. But that does not eliminate the procedural obstacle arising from
arbitration agreements between providers and MCOs.

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                                  CONCLUSION

      Under the principles announced in Talevski, the district court’s judgment

dismissing St. Anthony’s section 1983 claim under section 1396u-2(f) of the Medicaid

Act should be affirmed.

                                              Respectfully submitted,

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       REQUIREMENTS, AND TYPE STYLE REQUIREMENTS

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                                          /s/ Richard S. Huszagh
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      I hereby certify that on December 12, 2023, I electronically filed the foregoing

Supplemental Brief Of Defendant-Appellee with the Clerk of the Court for the United

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                                           /s/ Richard S. Huszagh
